169 U.S. 365
    18 S.Ct. 946
    42 L.Ed. 779
    SMITH vsrv.  NAPHTALY.
    No. 181.
    February 28, 1898.
    
      Henry F. Crane, for appellant.
      A. T. Britton and A. R. Browne, for appellee.
      Mr. Justice PECKHAM delivered the opinion of the court.
    
    
      1
      In this case counsel for the appellant concedes that if the court should hold that the sale of the land mentioned in the patent involved in the foregoing case (18 Sup. Ct. 354) were a valid sale, then the judgment in this case should be affirmed. As we do so hold, the judgment herein is therefore affirmed.
    
    